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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    -----------------------------------------------------------x
         // L c;< ;t..i o tt 11J-      Ji< Uoo i Plf-
                                       Plaintiff( s),                           if -cv-8ff~(PKC)
                     -against-                                                    SCHEDULING ORDER




                                        Defendant(s).

    -----------------------------------------------------------x




                      WHEREAS, defendants _ _ am:b:-                   have expressed an intent to move to

    dismiss the complaint pursuant to Rule 12(b)(6), Fed. R. Civ. P.

                                ·AS, plaintiff
                                               /\.
                                                        stated unequivocally that he   ~oes not wish to amend the
    complaint in response to defendants' pre-motion letters.

                      NOW, therefore, the following is ORDERED:


                      1.       Defendants    ~ attcl d m a y file their motion to dismiss by ~ ~J;                  Z.01f

                                                           ~
    Plaintiff may respond to the motion by~ T,2.Dfi. Defendant may reply by
     5>r~/S/.201q                            ·
     tf!!-0   0     ;J:2/ ;2() (,,_,

                      2.       Rule 16(b)(3)(A) provides that a Court's "scheduling order must limit the

    time to ... amend the pleadings .... " Pursuant to that authority, the Court hereby limits the time

    to amend the complaint as of right or move to amend to tfu.i later oftfle follewing. (a) the date te .Q__.

r   tttnend as of right U:Hde1 Rttk 15, Fed. R. Civ. P.,        ef~    21 days from the filing of the motion to

    dismiss.                                                       l
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                                            -2-


             3.     Discovery is stayed pending further Order of this Court.

             SO ORDERED.




                                                        ~
                                                        United States District Judge

Dated: New York, New York
       Getelset 16, 261-S-
        JJ~        / lfr   ;< C> I g
